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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------x

JANE DOE, Anonymous,

                 Plaintiff,

        -v-                                                           No. 19 CV 11587-LTS

WILHELMINA MODELS, INC., CAL TAN,
LLC, and NEW SUNSHINE, LLC,

                 Defendants.

-------------------------------------------------------x

                                                     ORDER

                 The Court previously authorized sealing of Plaintiff’s motion to remand and

accompanying exhibits after its initial filing to conceal inadvertent references to Plaintiff’s

identity. (See docket entry no. 8.) Plaintiff is directed to file on the public docket a redacted

version of the sealed submission by November 6, 2020.



        SO ORDERED.

Dated: New York, New York
       November 3, 2020



                                                                     /s/ Laura Taylor Swain
                                                                     LAURA TAYLOR SWAIN
                                                                     United States District Judge




DOE - ORDER                                                VERSION NOVEMBER 3, 2020                 1
